811 F.2d 604
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.William K. ELRICH, Plaintiff-Appellant,v.Ellen TOLLE, Terry Tierney, Jo Tierney, Defendants-Appellees.
    No. 86-3858.
    United States Court of Appeals, Sixth Circuit.
    Dec. 15, 1986.
    
      Before JONES and MILBURN, Circuit Judges, and CONTIE, Senior Circuit Judge.
    
    ORDER
    
      1
      This appeal has been referred to this Court pursuant to Rule 9(a), Rules of the Sixth Circuit.
    
    
      2
      Appellant has appealed from the Magistrate's order denying appointment of counsel.  The order is not appealable.   Ambrose v. Welch, 729 F.2d 1084 (6th Cir.1984);  Henry v. City of Detroit Manpower Dept., 763 F.2d 757 (6th Cir.), cert. denied, 106 S.Ct. 178 (1985).  The Court is without jurisdiction to entertain the appeal.
    
    
      3
      It is ORDERED that the appeal be and hereby is dismissed.  Rule 9(d)(1), Rules of the Sixth Circuit.
    
    